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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



ST. VINCENT CATHOLIC CHARITIES,

                Plaintiff,
                                                                CASE NO. 1:19-CV-1050
v.
                                                                HON. ROBERT J. JONKER
INGHAM COUNTY BOARD
OF COMMISSIONERS,

            Defendant.
____________________________________/

                                               ORDER

        The parties have submitted principal briefing on Plaintiff’s motion for a preliminary

injunction. Defendant has requested permission to file a rebuttal brief in response to Plaintiff’s reply

brief. Defendant has also filed a motion to dismiss asserting grounds that will, at least to some

extent, overlap argument on the “probability of success” aspect of the preliminary injunction motion.

The Plaintiff has not yet had the opportunity to respond to the most recent defense requests.

        The Court anticipates discussing with the parties at the Rule 16 Conference set for

February 26, 2020, how best to sequence consideration and disposition of the issues framed. This

will include discussion on each party’s position of what may be necessary for evidentiary

submissions on the preliminary injunction motion. Based on preliminary review of the submissions,

there appears to be factual conflicts between the parties that could affect the merits of the preliminary

injunction motion. If the parties agree that evidentiary submissions may be necessary or appropriate

on the preliminary injunction, they should say so in the joint status report and describe what

submissions they anticipate. If they disagree and believe the preliminary injunction can be decided
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on the paper record, they should say so in the joint status report and describe why the apparent

factual disputes are legally immaterial. The Court does not anticipate ruling on any pending motion

before the Rule 16 Conference.



Dated:       January 23, 2020                /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE
